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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

SHEREEN FAKHOURY,
Plaintiff,

Vv. Case No.
ALSIP POLICE OFFICER JAMES
BRONGIEL (No. 66), VILLAGE OF
ALSIP, a municipal corporation, OAK
LAWN POLICE OFFICER B.P.
CARLSON (No. 2195), UNKNOWN OAK
LAWN POLICE OFFICERS, VILLAGE
OF OAK LAWN, a municipal corporation,

Defendants.

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COMPLAINT AT LAW
NOW COMES plaintiff, SHEREEN FAKHOURY, by and through her attorneys,
NEVILLE & MAHONEY and WALSH, FEWKES & STERBA, and complaining of defendants,
ALSIP POLICE OFFICER JAMES BRONGIEL (No. 66), VILLAGE OF ALSIP, a municipal
corporation, OAK LAWN OFFICER B.P. CARLSON (No. 2195), UNKNOWN OAK LAWN
POLICE OFFICERS, and VILLAGE OF OAK LAWN, alleges as follows:
Introduction
1. This action is brought pursuant to 42 U.S.C. §1983 to redress the deprivation
under color of law of Plaintiff's right as secured by the United States Constitution.
Jurisdiction and Venue
2s This Court has jurisdiction of the action pursuant to 28 U.S.C. §§1331 and
1343(a), the Constitution of the United States, and this Court’s supplemental jurisdiction to hear

pendent State law claims under 28 U.S.C. §1367.
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3. Venue is proper under 28 U.S.C. §1391(b). On information and belief, all parties
reside in this judicial district, and the events giving rise to the claims asserted herein occurred
within this judicial district.

Parties

4. Plaintiff, Shereen Fakhoury, is a citizen and a resident of the Village of Alsip,
County of Cook, State of Illinois, and United States of America.

5. Defendant, Village of Alsip, is a duly incorporated municipal corporation within
the Northern District of Illinois and is the employer and principal of defendant, Officer Brongiel.

6. Defendant, Officer Brongiel, is a police officer and was employed by the Village
of Alsip at the time of the occurrence.

7. At all times material to this complaint, defendant, Officer Brongiel, acted within
the scope of his employment and under the color of state law, ordinance and/or regulation,
statues, custom and usage of the Village of Alsip.

8. Defendant, Village of Oak Lawn, is a duly incorporated municipal corporation
within the Northern District of Illinois and is the employer and principal of defendant, Officer
Carlson, and the Unknown Oak Lawn Police Officers.

9. Defendant, Officer Carlson, is a police officer and was employed by the Village
of Oak Lawn at the time of the occurrence.

10. Defendants, Unknown Oak Lawn Police Officers, are police officers employed by

the Village of Oak Lawn at the time of the occurrence.
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11. At all times material to this complaint, defendant, Officer Carlson, and the
Unknown Oak Lawn Police Officers, were acting in the scope of their employment and under the
color of state law, ordinance and/or regulation, statutes, custom and usage of the Village of Oak
Lawn.

Background

12. On December 13, 2013, the plaintiff, SHEREEN FAKHOURY, was arrested by
the Oak Lawn Police Department for driving under the influence.

13. Warrant #15-217W for plaintiff's arrest, stemming from the aforestated incident,
was issued.

14. On December 18, 2015, plaintiff posted the required bond and an Order was
entered by the Circuit Court of Cook County declaring that warrant #15-217W had been
executed.

13. On December 18, 2015, plaintiff received a copy of the aforestated Court Order
for her personal files.

16. On November 1, 2017, defendant, OFFICER BRONGIEL, was aware of warrant
#15-217W and believed plaintiff, SHEREEN F AKHOURY, was wanted by the Oak Lawn Police
Department in connection with said warrant.

17. On November 1, 2017, plaintiff, SHEREEN FAKHOURY, was not wanted for
any criminal wrongdoing by the Alsip Police Department.

18. On November 1, 2017, defendant, OFFICER BRONGIEL, drove his patrol
vehicle to the plaintiffs neighborhood and parked down the street from her residence located at

12224 South 44" Place, in the Village of Alsip, County of Cook, and State of Illinois.
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19. At the time and place aforesaid, the plaintiff, SHEREEN F AKHOURY, was
outside in the driveway of her residence.

20. At the time and place aforesaid, defendant, OFFICER BRONGIEL, approached
plaintiff and inquired about the disposition of warrant #15-217W.

21. At the time and place aforesaid, defendant, OFFICER BRONGIEL, contacted
Alsip dispatch to verify the status of warrant #15-217W and was advised said warrant remained
outstanding.

22. In response to defendant’s inquiry, plaintiff stated that said warrant had been
executed.

23. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, repeated and
persistently advised defendant, OFFICER BRONGIEL, that she had a copy of the December 18,
2015 Court Order declaring said warrant executed and requested his permission to retrieve said
Court Order from her residence.

24. At the time and place aforesaid, defendant, OFFICER BRONGIEL, repeatedly
refused to permit plaintiff to retrieve and produce the December 18, 2015 Court Order which
declared warrant #15-217W had been executed.

25. At the time and place aforesaid, defendant, OFFICER BRONGIEL, took plaintiff,
SHEREEN FAKHOURY, into custody for the purpose of transferring her into the custody of the
Oak Lawn Police Department.

26. On November 1, 2017, defendant, OFFICER BRONGIEL, transported the
plaintiff, SHEREEN FAKHOURY, to 111" and Cicero Avenue, at the border of the Village of

Alsip and the Village of Oak Lawn.
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27. At the time and place aforesaid, defendant, OFFICER BRONGIEL, transferred
custody of the plaintiff, SHEREEN FAKHOURY, to defendant, OFFICER CARLSON, of the
Oak Lawn Police Department.

28. At the time and place aforesaid, defendant, OFFICER CARLSON, contacted Oak
Lawn Dispatch and was advised that warrant #15-217W was outstanding.

29. At the time and place aforesaid, defendant, OFFICER CARLSON, took custody
of plaintiff, SHEREEN FAKHOURY, to transport her to the Oak Lawn Police Department
Lockup.

30. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, repeatedly
and persistently advised defendant, OFFICER CARLSON, that warrant #15-217W had been
executed and that she was in possession of the December 18, 2015 Court Order declaring that
said warrant had been executed.

31. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, requested
defendant, OFFICER CARLSON, to give her permission to contact her brother so her brother
could bring the Court Order to the Oak Lawn Police Station.

32. At the time and place aforesaid, defendant, OFFICER CARLSON, refused to
allow plaintiff to contact her brother to allow her brother to bring a copy of the Court Order to
the Oak Lawn Police Station.

33. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, advised
defendant, OFFICER CARLSON, that she suffered from an anxiety disorder and was not in

possession of her medication.
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34. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, requested
defendant, OFFICER CARLSON, to give her permission to contact her brother so her brother
could bring her medication to the Oak Lawn Police Station.

35. At the time and place aforesaid, defendant, OFFICER CARLSON, refused to
allow plaintiff to contact her brother to allow her brother to bring her medication to the Oak
Lawn Police Station.

36. At the time and place aforesaid, defendant, OFFICER CARLSON, transported
plaintiff, SHEREEN FAKHOURY, to the Oak Lawn Police Department Lockup.

37. On November 1, 2017, plaintiff, SHEREEN FAKHOURY, arrived at the Oak
Lawn Police Department Lockup and was processed.

38. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, repeatedly
and persistently advised defendants, OFFICER CARLSON and/or UNKNOWN OAK LAWN
POLICE OFFICERS, that warrant #15-217W had been executed and that she was in possession
of the December 18, 2015 Court Order declaring that said warrant had been executed.

39. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, repeatedly
and persistently requested permission from defendant, OFFICER CARLSON and/or
UNKNOWN OAK LAWN POLICE OFFICERS, to contact her brother so her brother could
bring the Court Order to the Oak Lawn Police Department.

40. At the time and place aforesaid, defendant, OFFICER CARLSON and/or
UNKNOWN OAK LAWN POLICE OFFICERS, repeatedly and persistently refused to allow
plaintiff to contact her brother, or to contact her brother on plaintiff's behalf, to bring a copy of

the Court Order to the Oak Lawn Police Station.
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41. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, repeatedly
and persistently advised defendants, OFFICER CARLSON and/or UNKNOWN OAK LAWN
POLICE OFFICERS, that she suffered from an anxiety disorder and that she was not in
possession of her medication.

42. At the time and place aforesaid, police department personnel of the defendant,
VILLAGE OF OAK LAWN, completed an Adult Prisoner Detention Log specifying that
plaintiff, SHEREEN FAKHOURY, had possible suicidal tendencies.

43. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, repeatedly
and persistently requested permission from defendants, OFFICER CARLSON and/or
UNKNOWN OAK LAWN POLICE OFFICERS, to contact her brother so her brother could
bring her anxiety medication to the Oak Lawn Police Department.

44. At the time and place aforesaid, the defendants, OFFICER CARLSON and/or
UNKNOWN OAK LAWN POLICE OFFICERS, repeatedly and persistently refused to allow
plaintiff to contact her brother, or to contact her brother on plaintiff's behalf, to bring plaintiff's
anxiety medication to the Oak Lawn Police Station.

45. At approximately 12:00 p.m. on November 1, 2017, plaintiff, SHEREEN
FAKHOURY, was placed into a cell at the Oak Lawn Police Department.

46. At the time and place aforesaid, plaintiff, SHEREEN FAKHOURY, continued to
advise defendants that she was in possession of the December 15, 2017 Court Order declaring
warrant #15-217W executed and to request defendants contact her brother to deliver a copy of
the Court Order.

47.  Atthe time and place aforesaid, plaintiff, SHEREEN FAKHOURY, continued to

advise defendants that she suffered from an anxiety disorder and that she was not in possession
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of her medication, and to request defendants contact her brother to bring her medication to the
Oak Lawn Police Department.

48. At the time and place aforesaid, defendants, OFFICER CARLSON and/or
UNKNOWN OAK LAWN POLICE OFFICERS, repeatedly refused to contact the plaintiffs
brother for a copy of the Court Order and the plaintiffs medication.

49. At approximately 1:00 p.m. and 2:00 p.m. on November 1, 2017, plaintiff's
brother contacted the Oak Lawn Police Department to advise them of the existence of the
December 18, 2015 Court Order declaring warrant #15-217W had been executed.

50. At the time and place aforesaid, defendants, OFFICER CARLSON and/or
UNKNOWN OAK LAWN POLICE OFFICERS, continued to refuse to receive said Court Order
and continued to detain plaintiff.

51. At approximately 2:44 p.m. on November 1, 2017, plaintiff, SHEREEN
FAKHOURY, complained to Oak Lawn Police Department personnel of pain in her chest and
side.

52: At approximately 2:54 p.m. on November 1, 2017, Oak Lawn Police Department
personnel transported plaintiff, SHEREEN FAKHOURY, to the emergency department of
Advocate Christ Medical Center via ambulance where she was treated for an aggravation of her
anxiety disorder.

53. At approximately 7:11 p.m. on November 1, 2017, plaintiff, SHEREEN
FAKHOURY, returned to the Oak Lawn Police Department and was placed into a cell where she
remained overnight.

54. At approximately 8:35 a.m. on November 2, 2017, plaintiff, SHEREEN

FAKHOURY, appeared in the Circuit Court of Cook County pursuant to warrant #15-217W.
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55. At the time and place aforesaid, the Cook County Circuit Court Judge presiding
over plaintiff's hearing noted that warrant #15-217W had been executed on December 18, 2015.

56.  Atthe time and place aforesaid, the Court entered an Order declaring that all
warrants issued in plaintiff's cause, prior to November 2, 2017, were quashed and recalled.

57.  Atthe time and place aforesaid, plaintiff, SHEREEN FAKHOURY, was released
from custody.

COUNT I
42 U.S.C. §1983: False Arrest
Officer James Brongiel and the Village of Alsip

58. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
57 as if fully stated herein.

59. On November 1, 2017, defendant, OFFICER BRONGIEL, knew that plaintiff was
not wanted by the Village of Alsip Police Department for any criminal wrongdoing.

60. On November 1, 2017, defendant, OFFICER BRONGIEL, was specifically
informed by the plaintiff that she could produce a Court Order which declared warrant #15-
217W had been executed and was no longer outstanding.

61. Despite this information, defendant, OFFICER BRONGIEL, repeatedly refused to
permit plaintiff to produce said Court Order.

62. As described in the preceding paragraphs, defendant, OFFICER BRONGIEL,
detained and falsely arrested plaintiff without legal justification and/or probable cause.

63. The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.
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64. | The misconduct described in this Count was objectively unreasonable and was
undertaken intentionally with willful indifference to plaintiff's constitutional rights, specifically
the Fourth and Fourteenth Amendments to the United States Constitution, and hence 42 U.S.C.
§1983.

65. Asa direct and proximate result of the defendants’ conduct and the unjustified
violation of plaintiff's rights, plaintiff, SHEREEN FAKHOURY, has suffered injury, including
emotional distress.

66. As described above, defendant OFFICER BRONGIEL’s conduct was undertaken
within the scope of his employment such that his employer, the VILLAGE OF ALSIP, is liable
for his actions.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against both
defendants designated in this Court, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,
as well as for attorneys’ fees pursuant to 42 U.S.C. §1988, costs and such other relief as this
Court deems equitable and just. Furthermore, because the acts of defendant, OFFICER
BRONGIEL, was willful, wanton, and/or malicious, plaintiff, SHEREEN FAKHOURY,
demands substantial punitive damages against him.

COUNT II
42 U.S.C. §1983: False Arrest
Officer B.P. Carlson and the Village of Oak Lawn
67. Plaintiff repeats and re-alleges each and every paragraph 1 through and including

66 as if fully stated herein.
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68. On November 1, 2017, defendant, OFFICER CARLSON, was specifically
informed by the plaintiff that she could produce a Court Order which declared warrant #15-
217W had been executed and was no longer outstanding.

69. Despite this information, defendant, OFFICER CARLSON, repeatedly refused to
permit plaintiff to contact her brother to deliver said Court Order to the Oak Lawn Police Station.

70. As described in the preceding paragraphs, defendant, OFFICER CARLSON,
detained and falsely arrested plaintiff without legal justification and/or probable cause.

71. The misconduct described in this Count was undertaken with malice, willfulness,
and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.

72. The misconduct described in this Count was objectively unreasonable and was
undertaken intentionally with willful indifference to plaintiff's constitutional rights, specifically
the Fourth and Fourteenth Amendments to the United States Constitution, and hence 42 U.S.C.
§1983.

73. Asa direct and proximate result of the defendants’ conduct and the unjustified
violation of plaintiff's rights, plaintiff, SHEREEN FAKHOURY, has suffered injury, including
emotional distress.

TA. As described above, defendant OFFICER CARLSON’s conduct was undertaken
within the scope of his employment such that his employer, the VILLAGE OF OAK LAWN, is
liable for his actions.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against both
defendants designated in this Court, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,

as well as for attorneys’ fees pursuant to 42 U.S.C. §1988, costs and such other relief as this
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Court deems equitable and just. Furthermore, because the acts of defendant, OFFICER
CARLSON, was willful, wanton, and/or malicious, plaintiff, SHEREEN FAKHOURY, demands
substantial punitive damages against him.
COUNT III
42 U.S.C. §1983: False Imprisonment against
Officer James Brongiel and the Village of Alsip

75. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
74 as if fully stated herein.

76. On November 1, 2017, defendant, OFFICER BRONGIEL, knew that plaintiff was
not wanted by the Village of Alsip Police Department for any criminal wrongdoing.

77. On November 1, 2017, defendant, OFFICER BRONGIEL, was specifically
informed by the plaintiff that she could produce a Court Order which declared warrant #15-
217W had been executed and was no longer outstanding.

78. Despite this information, defendant, OFFICER BRONGIEL, repeatedly refused to
permit plaintiff to produce said Court Order.

79. Subsequent to the arrest of plaintiff, SHEREEN FAKHOURY, defendant,
OFFICER BRONGIEL, falsely imprisoned plaintiff without legal justification and/or probable
cause.

80. Plaintiff, SHEREEN FAKHOURY, was falsely imprisoned from the time that
defendant, OFFICER BRONGIEL, arrested her until the time custody of the plaintiff was
transferred to defendant, OFFICER CARLSON.

81. The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.
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82. The misconduct described in this Count was objectively unreasonable and was
undertaken intentionally with willful indifference to plaintiffs constitutional rights, specifically
the Fourth and Fourteenth Amendments to the United States Constitution, and hence 42 U.S.C.
§1983.

83. Asa direct and proximate result of defendants’ conduct and the unjustified
violation of plaintiff's rights, plaintiff, SHEREEN FAKHOURY, suffered injury, including
emotional distress.

84. As described above, defendant OFFICER BRONGIEL’s conduct was undertaken
within the scope of his employment such that his employer, the VILLAGE OF ALSIP, is liable
for his actions.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against both the
defendants designated in this Count, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,
as well as for attorneys’ fees pursuant to 42 U.S.C. §1988, costs and other such relief as this
Court deems equitable and just. Furthermore, because the acts of defendant, OFFICER
BRONGIEL, was willful, wanton, and/or malicious, plaintiff, SHEREEN FAKHOURY,
demands substantial punitive damages against him.

COUNT IV
42 U.S.C. §1983: False Imprisonment against
Officer B.P. Carlson and the Village of Oak Lawn
85. Plaintiff repeats and re-alleges each and every paragraph 1 through and including

84 as if fully stated herein.
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86. On November 1, 2017, defendant, OFFICER CARLSON, was specifically
informed by the plaintiff that she could produce a Court Order which declared warrant #15-
217W had been executed and was no longer outstanding.

87. On November 1, 2017, plaintiff's brother contacted the Oak Lawn Police
Department twice stating that plaintiff's arrest was in error, but his assertion was ignored by
members of the Oak Lawn Police Department.

88. Despite this information, defendant, OFFICER CARLSON, repeatedly refused to
permit plaintiff to contact her brother to deliver said Court Order to the Oak Lawn Police Station
and to permit her brother to deliver said Court Order to the Oak Lawn Police Station.

89. Subsequent to the arrest of plaintiff, SHEREEN FAKHOURY, defendant,
OFFICER CARLSON, falsely imprisoned plaintiff without legal justification and/or probable
cause.

90. Plaintiff, SHEREEN FAKHOURY, was falsely imprisoned from the time that
custody of the plaintiff was transferred to defendant, OFFICER CARLSON, until the time of her
release on November 2, 2017.

91. The misconduct described in this Count was undertaken with malice, willfulness,
and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.

92. | The misconduct described in this Count was objectively unreasonable and was
undertaken intentionally with willful indifference to plaintiff's constitutional rights, specifically
the Fourth and Fourteenth Amendments to the United States Constitution, and hence 42 U.S.C.

§1983.
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93. Asa direct and proximate result of defendants’ conduct and the unjustified
violation of plaintiffs rights, plaintiff, SHEREEN FAKHOURY, suffered injury, including
emotional distress.

94. As described above, defendant OFFICER CARLSON’s conduct was undertaken
within the scope of his employment such that his employer, the VILLAGE OF OAK LAWN, is
liable for his actions.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against both the
defendants designated in this Count, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,
as well as for attorneys’ fees pursuant to 42 U.S.C. §1988, costs and other such relief as this
Court deems equitable and just. Furthermore, because the acts of defendant, OFFICER
CARLSON, was willful, wanton, and/or malicious, plaintiff, SHEREEN FAKHOURY, demands
substantial punitive damages against him.

COUNT V
42 U.S.C. §1983: False lmprisonment against
Unknown Oak Lawn Police Officers and the Village of Oak Lawn

95. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
94 as if fully stated herein.

96. On November 1, 2017, defendants, UNKNOWN OAK LAWN POLICE
OFFICERS, were specifically informed by the plaintiff that she could produce a Court Order
which declared warrant #15-217W had been executed and was no longer outstanding.

97. On November 1, 2017, plaintiffs brother contacted the Oak Lawn Police

Department twice stating plaintiff's arrest was in error, but his assertion was ignored by

members of the Oak Lawn Police Department.
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98. Despite this information, defendants, UNKNOWN OAK LAWN POLICE
OFFICERS, repeatedly refused to permit plaintiff to contact her brother to deliver said Court
Order to the Oak Lawn Police Station and to permit her brother to deliver said Court Order to the
Oak Lawn Police Station.

99. Subsequent to the arrest of plaintiff, SHEREEN FAKHOURY, defendants,
UNKNOWN OAK LAWN POLICE OFFICERS, falsely imprisoned plaintiff without legal
justification and/or probable cause.

100. Plaintiff, SHEREEN FAKHOURY, was falsely imprisoned from the time she
arrived at the Oak Lawn Police Department Lockup until the time of her release on November 2,
2017.

101. The misconduct described in this Count was undertaken with malice, willfulness,
and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.

102. The misconduct described in this Count was objectively unreasonable and was
undertaken intentionally with willful indifference to plaintiff’s constitutional rights, specifically
the Fourth and Fourteenth Amendments to the United States Constitution, and hence 42 U.S.C.
§1983.

103. Asa direct and proximate result of defendants’ conduct and the unjustified
violation of plaintiff's rights, plaintiff, SHEREEN FAKHOURY, suffered injury, including
emotional distress.

104. As described above, defendants UNKNOWN OAK LAWN POLICE OFFICER’s
conduct was undertaken within the scope of their employment such that their employer, the

VILLAGE OF OAK LAWN, is liable for their actions.
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WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against the
defendants designated in this Count, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,
as well as for attorneys’ fees pursuant to 42 U.S.C. §1988, costs and other such relief as this
Court deems equitable and just. Furthermore, because the acts of defendants, UNKNOWN OAK
LAWN POLICE OFFICERS, were willful, wanton, and/or malicious, plaintiff, SHEREEN
FAKHOURY, demands substantial punitive damages against them.

COUNT VI
42 U.S.C. §1983: Denial of Medical Care
Officer B.P. Carlson and the Village of Oak Lawn

105. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
104 as if fully stated herein.

106. On November 1, 2017, defendant, OFFICER CARLSON, was specifically
informed by the plaintiff that she suffered from an anxiety disorder and that she was not in
possession of her medication.

107. On November 1, 2017, police department personnel of the defendant, VILLAGE
OF OAK LAWN, completed an Adult Prisoner Detention Log specifying that plaintiff,
SHEREEN FAKHOURY, had possible suicidal tendencies.

108. Despite this information, defendant, OFFICER CARLSON, repeatedly refused to
permit plaintiff to contact her brother to deliver her medication to the Oak Lawn Police Station.

109. After being placed in a cell at approximately 12:00 p.m., at 2:44 p.m., plaintiff,
SHEREEN FAKHOURY, complained of pain in her chest and side and was transported to
Advocate Christ Medical Center where she was diagnosed with an aggravation of her anxiety

disorder.
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110. Defendant, OFFICER CARLSON, denied plaintiff access to her medication
without legal justification.

111. The misconduct described in this Count was undertaken with malice, willfulness,
and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.

112. The misconduct described in this Count was objectively unreasonable and was
undertaken intentionally with willful and deliberate indifference to a serious medical need and to
plaintiff's constitutional rights, specifically the Fourth and Fourteenth Amendments to the United
States Constitution, and hence 42 U.S.C. §1983.

113. Asa direct and proximate result of defendants’ conduct and the unjustified
violation of plaintiff's rights, plaintiff, SHEREEN FAKHOURY, sustained pecuniary damages
for hospital treatment, and suffered injury, including emotional distress.

114. As described above, defendant OFFICER CARLSON’s conduct was undertaken
within the scope of his employment such that his employer, the VILLAGE OF OAK LAWN, is
liable for his actions.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against both
defendants designated in this Count, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,
as well as for attorneys’ fees pursuant to 42 U.S.C. §1988, costs and other such relief as this
Court deems equitable and just. Furthermore, because the acts of defendant, OFFICER
CARLSON, was willful, wanton, and/or malicious, plaintiff, SHEREEN FAKHOURY, demands

substantial punitive damages against him.
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COUNT VII
42 U.S.C. §1983: Denial of Medical Care
Unknown Oak Lawn Police Officers and the Village of Oak Lawn

115. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
114 as if fully stated herein.

116. On November 1, 2017, defendants, UNKNOWN OAK LAWN POLICE
OFFICERS, were specifically informed by the plaintiff that she suffered from an anxiety
disorder and that she was not in possession of her medication.

117. On November 1, 2017, police department personnel of the defendant, VILLAGE
OF OAK LAWN, completed an Adult Prisoner Detention Log specifying that plaintiff,
SHEREEN FAKHOURY, had possible suicidal tendencies.

118. Despite this information, defendants, UNKNOWN OAK LAWN POLICE
OFFICERS, repeatedly refused to permit plaintiff to contact her brother to deliver her medication
to the Oak Lawn Police Station.

119. After being placed in a cell at approximately 12:00 p.m., at 2:44 p.m., plaintiff,
SHEREEN FAKHOURY, complained of pain in her chest and side and was transported to
Advocate Christ Medical Center where she was diagnosed with an aggravation of her anxiety
disorder.

120. Defendants, UNKNOWN OAK LAWN POLICE OFFICERS, denied plaintiff
access to her medication without legal justification.

121. The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.
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122. The misconduct described in this Count was objectively unreasonable and was
undertaken intentionally with willful and deliberate indifference to a serious medical need and to
plaintiff's constitutional rights, specifically the Fourth and Fourteenth Amendments to the United
States Constitution, and hence 42 U.S.C. §1983.

123. Asa direct and proximate result of defendants’ conduct and the unjustified
violation of plaintiffs rights, plaintiff, SHEREEN FAKHOURY, sustained pecuniary damages
for hospital treatment, and suffered injury, including emotional distress.

124. As described above, defendants UNKNOWN OAK LAWN POLICE OFFICERS?’
conduct was undertaken within the scope of their employment such that their employer, the
VILLAGE OF OAK LAWN, is liable for their actions.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against the
defendants designated in this Count, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,
as well as for attorneys’ fees pursuant to 42 U.S.C. §1988, costs and other such relief as this
Court deems equitable and just. Furthermore, because the acts of defendant, UNKNOWN OAK
LAWN POLICE OFFICERS, were willful, wanton, and/or malicious, plaintiff, SHEREEN
FAKHOURY, demands substantial punitive damages against them.

COUNT VII
State Law Claim: Intentional Infliction of Emotional Distress
Against Officer Brongiel and the Village of Alsip

125. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
124 as if fully stated herein.

126. The acts and conduct of defendant, OFFICER BRONGIEL, as set forth above

were extreme and outrageous.
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127. Defendant, OFFICER BRONGIEL, intended to cause, or was in reckless
disregard of the probability that his conduct would cause severe emotional distress to plaintiff,
SHEREEN FAKHOURY.

128. Defendant, OFFICER BRONGIEL’s conduct was undertaken with malice,
willfulness, and reckless indifference to the rights and well-being of plaintiff, SHEREEN
FAKHOURY.

129. Said actions and conduct did directly and proximately cause plaintiff, SHEREEN
FAKHOURY, to suffer various severe emotional distress and physical injury.

130. As described above, defendant OFFICER BRONGIEL’s conduct was undertaken
within the scope of his employment such that his employer, the VILLAGE OF ALSIP, is liable
for his actions.

WHEREFORE plaintiff, SHEREEN FAKHOURY, demands judgment against both
defendants designated in this Court, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate her for all of the damages she has sustained, as
well as costs, and such other relief as this Court deems equitable and just. Furthermore, because
the acts of defendant, OFFICER BRONGIEL, was willful, wanton, and/or malicious, plaintiff
demands substantial punitive damages against him.

COUNT Ix
State Law Claim: Intentional Infliction of Emotional Distress
Against Officer Carlson, Unknown Oak Lawn Police Officers
and the Village of Oak Lawn

131. Plaintiff repeats and re-alleges each and every paragraph 1 through and including

130 as if fully stated herein.

132. The acts and conduct of defendants, OFFICER CARLSON and UNKNOWN

OAK LAWN POLICE OFFICERS, as set forth above were extreme and outrageous.
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133. Defendants, OFFICER CARLSON and UNKNOWN OAK LAWN POLICE
OFFICERS, intended to cause, or was in reckless disregard of the probability that their conduct
would cause severe emotional distress to plaintiff, SHEREEN FAKHOURY.

134. Defendant, OFFICER CARLSON and UNKNOWN OAK LAWN POLICE
OFFICERS’ conduct was undertaken with malice, willfulness, and reckless indifference to the
rights and well-being of plaintiff, SHEREEN FAKHOURY.

135. Said actions and conduct did directly and proximately cause plaintiff, SHEREEN
FAKHOURY, to suffer various severe emotional distress and physical injury.

136. As described above, defendants OFFICER CARLSON and UNKNOWN OAK
LAWN POLICE OFFICERS’ conduct was undertaken within the scope of their employment
such that their employer, the VILLAGE OF OAK LAWN, is liable for their actions.

WHEREFORE plaintiff, SHEREEN FAKHOURY, demands judgment against the
defendants designated in this Court, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate her for all of the damages she has sustained, as
well as costs, and such other relief as this Court deems equitable and just. Furthermore, because
the acts of defendants, OFFICER CARLSON and UNKNOWN OAK LAWN POLICE
OFFICERS, were willful, wanton, and/or malicious, plaintiff demands substantial punitive
damages against them.

COUNT X
State Law Claim: False Imprisonment against
Officer James Brongiel and the Village of Alsip
137. Plaintiff repeats and re-alleges each and every paragraph 1 through and including

136 as if fully stated herein.
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138. On November 1, 2017, defendant, OFFICER BRONGIEL, knew that plaintiff was
not wanted by the Village of Alsip Police Department for any criminal wrongdoing.

139. On November 1, 2017, defendant, OFFICER BRONGIEL, was specifically
informed by the plaintiff that she could produce a Court Order which declared warrant #15-
217W had been executed and was no longer outstanding.

140. Despite this information, defendant, OFFICER BRONGIEL, repeatedly refused to
permit plaintiff to produce said Court Order.

141. Despite this information, defendant, OFFICER BRONGIEL, restrained and
arrested plaintiff without reasonable ground to believe that the plaintiff had committed any
offense.

142. Subsequent to the arrest of plaintiff, SHEREEN FAKHOURY, defendant,
OFFICER BRONGIEL, continued to restrain plaintiff without reasonable grounds to believe that
plaintiff had committed any offense.

143. Plaintiff, SHEREEN FAKHOURY, was falsely imprisoned from the time that
defendant, OFFICER BRONGIEL, arrested her until the time custody of the plaintiff was
transferred to defendant, OFFICER CARLSON.

144. The misconduct described in this Count was undertaken with malice, willfulness,
and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.

145. Said actions and conduct did directly and proximately cause plaintiff, SHEREEN
FAKHOURY, to suffer emotional distress and physical injury.

146. As described above, defendant OFFICER BRONGIEL’s conduct was undertaken
within the scope of his employment such that his employer, the VILLAGE OF ALSIP, is liable

for his actions.
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WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against both the
defendants designated in this Count, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,
as well as costs, and other such relief as this Court deems equitable and just. Furthermore,
because the acts of defendant, OFFICER BRONGIEL, was willful, wanton, and/or malicious,
plaintiff, SHEREEN FAKHOURY, demands substantial punitive damages against him.

COUNT XI
State Law Claim: False Imprisonment against
Officer B.P. Carlson and the Village of Oak Lawn

147. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
146 as if fully stated herein.

148. On November 1, 2017, defendant, OFFICER CARLSON, was specifically
informed by the plaintiff that she could produce a Court Order which declared warrant #15-
217W had been executed and was no longer outstanding.

149. On November 1, 2017, plaintiff's brother contacted the Oak Lawn Police
Department twice stating that plaintiffs arrest was in error, but his assertion was ignored by
members of the Oak Lawn Police Department.

150. Despite this information, defendant, OFFICER CARLSON, repeatedly refused to
permit plaintiff to contact her brother to deliver said Court Order to the Oak Lawn Police Station
and to permit her brother to deliver said Court Order to the Oak Lawn Police Station.

151.’ Despite this information, defendant, OFFICER CARLSON, restrained and
arrested plaintiff without reasonable ground to believe that the plaintiff had committed any

offense.
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152. Subsequent to the arrest of plaintiff, SHEREEN FAKHOURY, defendant,
OFFICER CARLSON, continued to restrain plaintiff without reasonable grounds to believe that
plaintiff had committed any offense.

153. Plaintiff, SHEREEN FAKHOURY, was falsely imprisoned from the time that
custody of the plaintiff was transferred to defendant, OFFICER CARLSON, until the time of her
release on November 2, 2017.

154. The misconduct described in this Count was undertaken with malice, willfulness,
and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.

155. Said actions and conduct did directly and proximately cause plaintiff, SHEREEN
FAKHOURY, to suffer emotional distress and physical injury.

156. As described above, defendant OFFICER CARLSON’s conduct was undertaken
within the scope of his employment such that his employer, the VILLAGE OF OAK LAWN, is
liable for his actions.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against both the
defendants designated in this Count, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,
as well as costs, and other such relief as this Court deems equitable and just. Furthermore,
because the acts of defendant, OFFICER CARLSON, was willful, wanton, and/or malicious,
plaintiff, SHEREEN FAKHOURY, demands substantial punitive damages against him.

COUNT XII
State Law Claim: False Imprisonment against
Unknown Oak Lawn Police Officers and the Village of Oak Lawn
157. Plaintiff repeats and re-alleges each and every paragraph 1 through and including

156 as if fully stated herein.
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158. On November 1, 2017, defendants, UNKNOWN OAK LAWN POLICE
OFFICERS, were specifically informed by the plaintiff that she could produce a Court Order
which declared warrant #15-217W had been executed and was no longer outstanding.

159. On November 1, 2017, plaintiff's brother contacted the Oak Lawn Police
Department twice stating plaintiff's arrest was in error, but his assertion was ignored by
members of the Oak Lawn Police Department.

160. Despite this information, defendants, UNKNOWN OAK LAWN POLICE
OFFICERS, repeatedly refused to permit plaintiff to contact her brother to deliver said Court
Order to the Oak Lawn Police Station and to permit her brother to deliver said Court Order to the
Oak Lawn Police Station.

161. Despite this information, defendants, UNKNOWN OAK LAWN POLICE
OFFICERS, restrained and arrested plaintiff without reasonable ground to believe that the
plaintiff had committed any offense.

162. Subsequent to the arrest of plaintiff, SHEREEN FAKHOURY, defendants,
UNKNOWN OAK LAWN POLICE OFFICERS, continued to restrain plaintiff without
reasonable grounds to believe that plaintiff had committed any offense.

163. Plaintiff, SHEREEN FAKHOURY, was falsely imprisoned from the time she
arrived at the Oak Lawn Police Department Lockup until the time of her release on November 2,
2017.

164. The misconduct described in this Count was undertaken with malice, willfulness,
and reckless indifference to the rights of others, specifically, plaintiff, SHEREEN FAKHOURY.

165. Said actions and conduct did directly and proximately cause plaintiff, SHEREEN

FAKHOURY, to suffer emotional distress and physical injury.
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166. As described above, defendants UNKNOWN OAK LAWN POLICE OFFICER’s
conduct was undertaken within the scope of their employment such that their employer, the
VILLAGE OF OAK LAWN, is liable for their actions.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against the
defendants designated in this Count, jointly and severally, for substantial compensatory damages
in an amount that will adequately compensate plaintiff for all of the damages she has sustained,
as well as costs, and other such relief as this Court deems equitable and just. Furthermore,
because the acts of defendants, UNKNOWN OAK LAWN POLICE OFFICERS, were willful,
wanton, and/or malicious, plaintiff, SHEREEN FAKHOURY, demands substantial punitive
damages against them.

COUNT XIII
State Law Claim: Respondeat Superior
Against the Village of Alsip

167. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
166 as if fully stated herein.

168. In committing the acts alleged in the preceding paragraphs, defendant, OFFICER
BRONGIEL, was a member and agent of the Village of Alsip acting at all relevant times within
the scope of his employment.

169. Defendant, VILLAGE OF ALSIP, is liable as principal for all the State law torts
committed by its agent.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against

defendant, VILLAGE OF ALSIP, for substantial compensatory damages in an amount in excess

of FIFTY THOUSAND AND ONE ($50,001.00) DOLLARS that will adequately compensate
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the plaintiff for all of the damages she sustained, as well as costs, and such other relief as this
Court deems equitable and just.
COUNT XIV
State Law Claim: Respondeat Superior
Against the Village of Oak Lawn

170. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
169 as if fully stated herein.

171. In committing the acts alleged in the preceding paragraphs, defendants, OFFICER
CARLSON and UNKNOWN OAK LAWN POLICE OFFICERS, were members and agents of
the Village of Alsip acting at all relevant times within the scope of their employment.

172. Defendant, VILLAGE OF OAK LAWN, is liable as principal for all the State law
torts committed by its agents.

WHEREFORE, plaintiff, SHEREEN FAKHOURY, demands judgment against
defendant, VILLAGE OF ALSIP, for substantial compensatory damages in an amount in excess
of FIFTY THOUSAND AND ONE ($50,001.00) DOLLARS that will adequately compensate
the plaintiff for all of the damages she sustained, as well as costs, and such other relief as this
Court deems equitable and just.

COUNT XV
State Law Claim: Indemnification
Against the Village of Alsip

173. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
172 as if fully stated herein.

174. Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.
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175. Defendant, OFFICER BRONGIEL, is an employee of the Village of Alsip Police
Department, who acted within the scope of his employment in committing the misconduct
described herein.

WHEREFORE, pursuant to 745 ILCS 10/9-102, plaintiff, SHEREEN FAKHOURY,
demands judgment against the Village of Alsip in amounts awarded to the plaintiff against the
individual defendant as compensatory damages, attorneys’ fees, costs and other such relief as
this Court deems equitable and just.

COUNT XVI
State Law Claim: Indemnification
Against the Village of Oak Lawn

176. Plaintiff repeats and re-alleges each and every paragraph 1 through and including
175 as if fully stated herein.

177. Illinois law provides that public entities are directed to pay any tort judgment for
compensatory damages for which employees are liable within the scope of their employment
activities.

178. Defendants, OFFICER CARLSON and UNKNOWN OAK LAWN POLICE
OFFICERS, are employees of the Village of Oak Lawn Police Department, who acted within the
scope of their employment in committing the misconduct described herein.

WHEREFORE, pursuant to 745 ILCS 10/9-102, plaintiff, SHEREEN FAKHOURY,
demands judgment against the Village of Alsip in amounts awarded to the plaintiff against the
individual defendants as compensatory damages, attorneys’ fees, costs and other such relief as

this Court deems equitable and just.
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Jury Demand
Plaintiff, SHEREEN FAKHOURY, hereby demands a trial by jury pursuant to Federal
Rule of Civil Procedure 38(b) on all issues so triable.

Respectfully submitted,

S/ Terence J. Mahoney
One of the Attorneys for Plaintiff
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